                                                                                                     United States District Court
                                                                                                       Southern District of Texas

                                                                                                           ENTERED
                             IN THE UNITED STATES DISTRICT COURT                                          April 01, 2021
                             FOR THE SOUTHERN DISTRICT OF TEXAS                                        Nathan Ochsner, Clerk
                                      HOUSTON DIVISION


SHIVAM PATEL,                                            §
                                                         §
Plaintiff,                                               §
                                                         §
v.                                                       §              Civil Action No.: 4:21-cv-00989
                                                         §
UNITED AIRLINES, INC.,                                   §
                                                         §
Defendant.                                               §

                                                     ORDER

         This matter is before the Court on Plaintiff’s Motion to Amend and Supplement Complaint.

ECF 4. Plaintiff filed this case on March 26, 2021 and the clerk issued a Summons the same day.

ECF 1. Under Federal Rule of Civil Procedure 15(a)(1)(A), Plaintiff is entitled to amend his

Complaint within 21 days of serving it. Without regard to whether Defendant has been served,1

Plaintiff’s motion is timely. It is therefore

         ORDERED that Plaintiff’s Motion is Granted. Plaintiff must file his Amended Complaint

within 14 days of entry of this Order. Plaintiff is further advised that his Amended Complaint

must be served on Defendant.

Signed on April 01, 2021, at Houston, Texas.



                                                                          Christina A. Bryan
                                                                     United States Magistrate Judge




1
 The Return of Service on file (ECF 3) indicates that the server “fedexed the envelope to the defendant” on March
16, 2021. The Court refers Plaintiff, who is pro se, to Federal Rule of Civil Procedure 4 for guidance on service of
process.
